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1    DAYLE ELIESON
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3    District of Nevada
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7
     Representing the United States of America
8

9                      UNITED STATES DISTRICT COURT
                            DISTRICT OF NEVADA
10

11   United States of America,
                                                 Case No. 2:17-cr-306-JCM-PAL
12                Plaintiff,
                                                 Government’s Motion for
13                v.                             Alternative Victim
                                                 Notification Procedures
14   Svyatoslav Bondarenko, et al.

15                Defendants.

16

17
           The United States of America, by and through DAYLE ELIESON, United
18
     States Attorney, CHAD W. MCHENRY, Assistant United States Attorney, and
19
     KELLY PEARSON, Trial Attorney, respectfully moves this Court for authorization
20
     to employ alternate victim notification procedures pursuant to 18 U.S.C.
21
     § 3771(d)(2). Given the number of victims in the above-captioned case, which the
22
     government estimates to number in the millions, it is impracticable to accord each
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1    victim the individual notice and other rights enumerated in § 3771(a). Therefore, the

2    United States requests authorization to notify these victims via Internet publication,

3    in a manner described more particularly in the attached memorandum.

4

5    DATED this 14th day of March, 2018.

6
                                             Respectfully submitted,
7
                                             DAYLE ELIESON
8                                            United States Attorney

9                                            / s / Chad McHenry
                                             ______________________________
10                                           CHAD W. MCHENRY
                                             Assistant United States Attorney
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9                      UNITED STATES DISTRICT COURT
                            DISTRICT OF NEVADA
10

11   United States of America,
                                                 Case No. 2:17-cr-306-JCM-PAL
12                Plaintiff,
                                                 Memorandum in Support of
13                v.                             Government’s Motion for
                                                 Alternative Victim
14   Svyatoslav Bondarenko, et al.               Notification Procedures

15                Defendants.

16

17

18         The United States of America, by and through DAYLE ELIESON, United

19   States Attorney, CHAD W. MCHENRY, Assistant United States Attorney, and

20   KELLY PEARSON, Trial Attorney, respectfully submits this memorandum in sup-

21   port of its motion to employ alternative victim notification methods, pursuant to 18

22   U.S.C. § 3771(d)(2), in the above-captioned case.


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1                                       Statement of Facts

2               For the past four years, United States law enforcement have been investigat-

3    ing the Infraud Organization, a highly sophisticated transnational cybercrime en-

4    terprise. The investigation has shown that, among other things, the Infraud Organ-

5    ization engaged in the large-scale trafficking of compromised credit card data, coun-

6    terfeit identification documents, and stolen identities. Over the course of the Organ-

7    ization’s seven-year lifespan, the investigation revealed that it inflicted in excess of

8    $530 million USD in actual, recorded losses, and in excess of $2 billion USD in “in-

9    tended losses,” 1 in furtherance of its affairs.

10              The losses were primarily inflicted through the use of compromised credit card

11   and other financial data. To date, the investigation has recovered in excess of 4.3

12   million compromised credit card numbers, issued by a large number of financial in-

13   stitutions nationwide and throughout the world, and issued in the name of nearly as

14   many separate individuals. Beyond the damage inflicted upon the private citizens in

15   whose name the compromised accounts were issued, fraudulently used, and poten-

16   tially later charged off and/or collected, a large number of stolen identities were also

17   recovered, which were used to further the Organization’s illicit schemes.

18                                            Analysis

19              The Crimes Victims’ Rights Act (“the Act”), codified at 18 U.S.C. § 3771, pro-

20   vides certain rights to victims in federal criminal proceedings. Among these rights

21   is the right to “reasonable, accurate, and timely notice” of public court proceedings.

22

     1
         See U.S.S.G. § 2B1.1(b)(1).

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1    18 U.S.C. § 3771(a). The Act requires “[o]fficers and employees of the Department

2    of Justice and other departments and agencies of the United States engaged in the

3    detection, investigation and prosecution of crime make their best efforts to see that

4    crime victims are notified of, and accorded, the rights described in subsection

5    [3771](a),” 18 U.S.C. § 3771(c)(1), and it instructs the Court to “ensure that the crime

6    victim is afforded” those rights. 18 U.S.C. § 3771(b). The Act defines a crime victim

7    as “a person directly and proximately harmed as a result of the commission of a

8    Federal offense . . .” 18 U.S.C. § 3771(e). Importantly, the Act recognizes that for

9    crimes involving multiple victims, the Court has discretion to adopt procedures to

10   accord victim rights without unduly interfering with the criminal proceedings. Thus,

11   18 U.S.C. §3771(d)(2) provides:

12             In a case where the court finds that the number of crime victims
               makes it impracticable to accord all of the crime victims the rights
13             described in subsection (a), the court shall fashion a reasonable
               procedure to give effect to this chapter that does not unduly com-
14             plicate or prolong the proceedings.

15   The Act places no limitations on the alternative procedures which a Court may fash-

16   ion other than that the procedures be reasonable to effectuate the Act and that they

17   not unduly complicate or prolong the proceedings. Id.

18         The staggering number of victims in this case makes compliance with the no-

19   tification requirements outlined in section 3771(a), (b) and (c) impracticable. Neither

20   the Government nor the Court has the resources to accord all of the victims in this

21   case the notice required by subsection 3771(a). Therefore, due to the large number

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1    of victims in this case, the Government intends to use the Justice Department’s web-

2    site for large cases, http://justice.gov/largecases/, to direct victims to a case-specific

3    website where all required notices will be posted. The Government will issue a press

4    release informing individuals who believe they may be victims to access the Justice

5    Department website for more information. Victim notification at the corrections

6    stage will be provided through the Bureau of Prisons’ website, www.bop.gov.

7                                          Conclusion

8          For the foregoing reasons, the Government requests that this Court grant its

9    motion permitting the use of alternative methods of victim notification.

10

11   DATED this 14th day of March, 2018.

12
                                              Respectfully submitted,
13
                                              DAYLE ELIESON
14                                            United States Attorney

15                                            / s / Chad McHenry
                                              ______________________________
16                                            CHAD W. MCHENRY
                                              Assistant United States Attorney
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1                             CERTIFICATE OF SERVICE

2          I certify that I am an employee of the United States Attorney’s Office. A copy

3    of the foregoing GOVERNMENT’S MOTION FOR ALTERNATIVE VICTIM NO-

4    TIFICATION PROCEDURES was served upon counsel of record via Electronic

5    Case Filing (ECF).

6

7          DATED this 14th day of March, 2018.

8

9                                              / s / Chad McHenry
                                               ______________________________
10                                              CHAD W. MCHENRY
                                                Assistant United States Attorney
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3
                       UNITED STATES DISTRICT COURT
4
                            DISTRICT OF NEVADA
5
     United States of America,
6
                                                 Case No. 2:17-cr-306-JCM-PAL
                  Plaintiff,
7
                                                 Order on Alternative Victim
                  v.                             Notification Procedures
8
     Svyatoslav Bondarenko, et al.
9
                  Defendants.
10

11

12         Having reviewed the Government’s motion for permission to engage in alter-

13   native victim notification procedures, and good cause being shown:

14         IT IS ORDERED that the Government’s motion is GRANTED. The United

15   States shall provide any notifications required by 18 U.S.C. § 3771 to the pool of

16   potential victims in the above-captioned case via the Internet.

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1          IT IS FURTHER ORDERED that the United States shall post a link on the

2    Department of Justice’s large case website, located at http://www.justice.gov/large-

3    cases/, that will direct potential victims to a website under the Government’s control

4    that will contain all case-specific notifications required by 18 U.S.C. § 3771.

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6          DATED this 21st day of March, 2018.

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9                                            ___________________________________
                                             Hon. Peggy A. Leen
10                                           United States Magistrate Judge
                                             District of Nevada
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